      Case: 1:09-cv-06370 Document #: 1 Filed: 10/09/09 Page 1 of 12 PageID #:1




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

THERESA HILL,                                            )
                                                         )
                               Plaintiff,                )
                                                         )
                       vs                                )   No. 09 CV 6370
                                                         )
THE CITY OF CHICAGO, a municipal                         )
corporation, ANTHONY BOSWELL,                            )
individually and in his capacity                         )
as Executive Director of the City of Chicago             )
Office of Compliance, TORRICK WARD,                      )   JURY DEMANDED
individually and in his official capacity as Deputy      )
Director for the City of Chicago Office of               )
 Compliance, PAUL VOLPE, individually and                )
 in his capacity as Chief of Staff for the Mayor         )
of the City of Chicago, and John Does 1-5,               )
not yet known to the Plaintiff.                          )
                                                         )
                               Defendants.               )

                                            COMPLAINT

       NOW COMES the Plaintiff, THERESA HILL, by and through her attorneys, STEVEN J.

SEIDMAN & ASSOCIATES and MONICO, PAVICH & SPEVACK, and respectfully makes the

following Complaint against the Defendants, THE CITY OF CHICAGO, ANTHONY

BOSWELL, TORRICK WARD, PAUL VOLPE, and JOHN DOES 1-5, stating as follows:

                                               Parties

       1. THERESA HILL is a resident of Chicago, Illinois. She is an Assistant Commissioner

of Legal Compliance for the City of Chicago. During the course of her employment with the City

of Chicago, she has been designated numerous duties, assignments and roles. At the time when



                                                  1
      Case: 1:09-cv-06370 Document #: 1 Filed: 10/09/09 Page 2 of 12 PageID #:1




the allegations in this Complaint began, Plaintiff was the primary person assigned with the duty to

conduct equal employment opportunity (EEO) investigations for the City of Chicago.

       2.   The CITY OF CHICAGO is and was at all relevant times a municipal corporation

organized and existing under the laws of the State of Illinois.

       3.   The CITY OF CHICAGO s Office of Compliance was created by the CITY OF

CHICAGO with the responsibility to insure and promote ethical conduct and compliance with

laws, city policies, rules and ordinances. The Office of Compliance is also charged with

safeguarding the CITY OF CHICAGO s hiring process and to insure that all municipal, state,

federal and other laws and decrees are not affected by political influence.

       4.   As of approximately November 2007, ANTHONY BOSWELL became the Executive

Director of the City of Chicago Office of Compliance. Plaintiff sues Defendant Boswell

individually and in his official capacity as Executive Director of the City of Chicago Office of

Compliance.

       5.   TORRICK WARD is one of the Deputy Directors for the City of Chicago Office of

Compliance. Plaintiff sues Defendant Ward individually and in his official capacity as Deputy

Director of the City of Chicago Office of Compliance.

       6. PAUL VOLPE is the Chief of Staff for the Mayor of the City of Chicago. Defendant

sues Defendant Volpe individually and in his official capacity as Chief of Staff for the Mayor of the

City of Chicago.

       7.   JOHN DOES 1-5 are other members of the staff for the Mayor of the City of Chicago

not yet known to the Plaintiff.



                                                  2
      Case: 1:09-cv-06370 Document #: 1 Filed: 10/09/09 Page 3 of 12 PageID #:1




                              The Shakman Decree and Jurisdiction

       8.    In and about 1969, the City of Chicago was made subject of a federal lawsuit entitled

Michael Shakman et al. vs. Democratic Organization of Cook County, et al. (69 C 2145 (Northern

District of Illinois). In order to resolve many of the issues involved in that case, in and about 1972

the City of Chicago and its then-Mayor entered into a Consent Decree that prohibited the City of

Chicago from conditioning, basing or knowingly prejudicing of affecting any term or aspect of

government employment with respect to one who is a government employee, upon or because of

any political reason or factor. This settlement, which was signed by the Judge, is often referred to

as the Shakman Decree.

       9.    In an about 1983 the Shakman Decree was expanded to include not only presently

existing government employees, but to the City of Chicago s hiring practices as well. Thus, except

for certain exempt governmental positions not at issue in this Complaint, it is unlawful to take

political considerations into account in any employment actions, such as recruitment, hiring,

promotions, and transfers. Together, the 1969 and 1973 decrees are often referred to as the

 Shakman Decrees.

       10.    The District Court for the Northern District of Illinois has retained jurisdiction over

the Shakman case. As part of its jurisdiction over the case, the Court is empowered to enforce the

Shakman Decrees. The authority of the Court is placed in the hands of a federal Monitor. This

case is also brought under federal statute, 42 U.S.C. § 1963.

                                             Allegations

       11.    In or about August 2008, after having been awarded damages pursuant to the



                                                  3
      Case: 1:09-cv-06370 Document #: 1 Filed: 10/09/09 Page 4 of 12 PageID #:1




Shakman Decrees, Plaintiff was detailed from the Department of Human Resources to the Office

of Compliance at the request of the Federal Monitor. Both immediately before and immediately

after that detail, Plaintiff has complained about continual retaliation and harassment by persons

from the Mayor s Office and mayoral appointees.

       12.     In or about August 2008, Plaintiff was assigned to work for Torrick Ward.

Plaintiff s primary duties involved the handling of equal employment opportunity investigations.

       13.     In or about May 2009, and several times thereafter, Plaintiff was informed by

Boswell, Ward, and a Deputy Executive Director that it was their desire to offer Plaintiff the

permanent position of Senior Compliance Officer with the Office of Compliance, thus removing

her budget line from the Department of Human Resources and placing it within the Office of

Compliance for the 2010 fiscal year. Ward advised that he had met with senior management at

the Department of Human Resources and made a formal request to retain Plaintiff. His request

was granted by the Department of Human Resources and Plaintiff s proposed delegation was

presented within the Office of Compliance s Preliminary budget.

       14.     In or about July 2009, Defendant Boswell met with Plaintiff and expressed his

intent to appoint her to the role of Sexual Harassment Officer for the City of Chicago.

       15.     Defendant Boswell advised Plaintiff, however, that he would have to vet Plaintiff

to the alderman for support, and inquired as to whether Plaintiff knew any aldermen. When

Plaintiff advised Defendant Boswell that she did not know any aldermen, Defendant Boswell

advised Plaintiff that that would need to change

       16.     On information and belief, in or about the first week of August 2009, Defendant



                                                   4
      Case: 1:09-cv-06370 Document #: 1 Filed: 10/09/09 Page 5 of 12 PageID #:1




Boswell advised Defendant Paul Volpe, who is the Chief of Staff for the Mayor of the City of

Chicago, that the Office of Compliance intended to appoint/transfer Plaintiff into the position of

Sexual Harassment Officer for the City of Chicago. Defendant Boswell advised Defendant Volpe

that Plaintiff possessed outstanding qualifications and background with regard to sexual

harassment in the private, public (state/federal) and not-for-profit arenas having led and overseen

equal employment compliance in both preventative and responsive leadership roles.

        17.       On further information and belief, Defendant Boswell advised Defendant Volpe

that following the appointment of Plaintiff into the role of Sexual Harassment Officer for the City

of Chicago, the Office of Compliance planned to inform all departments of the appointment,

tender a press release announcing the appointment, and set up meetings with women s groups and

community leaders, among other things.

        18.       Defendant Boswell further advised Defendant Volpe that the Office of Compliance

wanted to appoint and promote Plaintiff to the position effective on August 10, 2009.

        19.       Defendant Ward thereafter told the Plaintiff that the position was mine (i.e.,

Plaintiff s) and they discussed possible salary, which would have been an increase from Plaintiff s

present salary.

        20.       On or about August 11, 2009, Defendant Ward advised Plaintiff that Defendant

Volpe, the Mayor s Chief of Staff, told the Office of Compliance that it should hold off on doing

anything with respect to putting Plaintiff into the position of Sexual Harassment Officer until at

least September 1, 2009.

        21.       Subsequently, on information and belief Defendant Volpe communicated to



                                                   5
      Case: 1:09-cv-06370 Document #: 1 Filed: 10/09/09 Page 6 of 12 PageID #:1




Defendant Boswell that the Mayor s Office did not want them to award the position of Sexual

Harassment Officer for the City of Chicago to Plaintiff. To date, Plaintiff has not received that

position.

       22.     The position for which Plaintiff was to be appointed was a position protected under

the Shakman Decrees and it was a violation of those decrees for the Mayor s Office to be involved

in that appointment.

       23.     On or about September 1, 2009, and on several occasions thereafter, Plaintiff met

with Defendants Boswell and Ward and told them that the interference by the Mayor s Office with

respect to her appointment as Sexual Harassment Officer was political and unlawful under the

federal Shakman Decrees, and that they could not deny her the position for political reasons.

Defendants Boswell and Ward argued with Plaintiff by suggesting, falsely, that the position of

Sexual Harassment Officer had never in fact been offered to her and that it was all a

misunderstanding. Plaintiff refused to acquiesce to Defendants Boswell s and Ward s attempts to

recast falsely the events that had taken place previously and on that day filed a Complaint against

Boswell and Ward with the federal Monitor alleging unlawful political influence committed by

Defendants Boswell, Ward, and Volpe.

       26.     On or about the morning of September 14, 2009, Plaintiff was advised that she no

longer was employed by the Office of Compliance and that Plaintiff should report immediately to

the Department of Human Resources. In doing so the Defendants also effectively revoked the

previously planned intention to make Plaintiff Senior Compliance Officer.

       27.     Plaintiff was further told that her detail to the Office of Compliance had ended.



                                                 6
      Case: 1:09-cv-06370 Document #: 1 Filed: 10/09/09 Page 7 of 12 PageID #:1




Plaintiff s computer access was obstructed in order to deny Plaintiff access.

          28.    Chicago Police Department officers were called and they escorted Plaintiff out of

the public building in full view of onlookers.

          29.   Shortly thereafter Plaintiff went to the office of the federal Monitor and complained

of the City s actions, but was told that they could not advise her and that she needed to talk to a

lawyer.

          30.    Plaintiff was thereafter transferred to a downstairs office in the Service Center of

the Department of Human Resources where she assists the public with the completion of on-line

applications for City employment opportunities. Plaintiff s duties no longer include primary

responsibility for EEO investigations.

          31.   Plaintiff s placement and duties at the Service Center office of the Department of

Human Resources require a dramatic downward skill level and are a materially adverse

employment action with respect to the conditions and privileges she had previously earned and

enjoyed as part of her employment and deprived her of new positions where she would have made

more money. In addition, Plaintiff was moved from a modern office with administrative support,

a direct telephone line and computer, to an old work space with little privacy, no phone and no

computer.

                                         CAUSES OF ACTION

                                               Count One

                                    (Violation of Shakman Decree)

          32.   Plaintiff realleges Counts 1 through 31 if fully set out herein, and brings this Count



                                                    7
      Case: 1:09-cv-06370 Document #: 1 Filed: 10/09/09 Page 8 of 12 PageID #:1




against Defendants City of Chicago, and Defendants Boswell, Waed and Volpe in their official

capacities.

        33.   The Defendants conduct, individually and in concert, constituted a violation of the

Shakman Decrees, in that Defendants, individually and in concert, deprived Plaintiff of a job

opportunity within the City of Chicago based solely on political considerations, to wit: the approval

of the Mayor s Office of the City of Chicago.

        34.   The Defendants conduct, individually and in concert, constituted a violation of the

Shakman Decrees because the Defendants took adverse employment actions against the Plaintiff

based on Plaintiff s complaints to them that they were using political considerations, including but

not limited seeking the acquiescence of the Mayor s Office of the City of Chicago before giving

Plaintiff a job for which she was qualified and was promised, and rescinding the offer when the

Mayor s Office advised them that the offer should not be made.

        35.   As a result of Defendants actions, Plaintiff was denied a position based on improper

political considerations and suffered damages and such other injuries including the loss of money,

position and rank.

                                              Count Two

                              Violation of Civil Rights (18 U.S.C. 1983

        36.   Plaintiff realleges paragraphs 1 through 35 as if fully set forth herein, and brings this

Count against Defendants City of Chicago and Defendants Boswell, Ward, and Volpe in their

individual and official capacities.

        37. Title 42, § 1983, provides in relevant part that:
        Every person who, under color of any statute, ordinance, regulation,

                                                   8
      Case: 1:09-cv-06370 Document #: 1 Filed: 10/09/09 Page 9 of 12 PageID #:1



       custom, or usage, of any State or Territory or the District of Columbia,
       subjects, or causes to be subjected, any citizen of the United States or other
       person within the jurisdiction thereof to the deprivation of any rights,
       privileges, or immunities secured by the Constitution and laws, shall be
       liable to the party injured in an action at law, suit in equity, or other proper
       proceeding for redress, ....

       38. The Defendant City of Chicago has engaged in a pattern and practice
with the Office of Compliance wherein the Office of Compliance seeks the

approval of the City of Chicago with respect to hiring and promotion within the
Office of Compliance. In the instant matter, the Defendants Boswell, Ward and

Volpe participated in the perpetration of that pattern and practice by, among other
things, the following actions:

               a.   Defendants Boswell and Ward and the Office of Compliance
               advised Plaintiff that they were seeking approval from the City of

               Chicago in order to promote the Plaintiff to the position of Sexual

               Harassment Officer;

               b.   Defendant s Boswell and Ward and the Office of Compliance
               revoked the offer made to the Plaintiff to assume the role of Sexual

               Harassment Officer, having been advised by Defendants Volpe and

               the City of Chicago that they did not want Plaintiff appointed to
               that position;

               c.   Defendant s Boswell and Ward and the Office of

                Compliance revoked the offer made to the Plaintiff to assume the

                role of Senior Compliance Officer, having been advised by

                Defendants Volpe and the City of Chicago that they did not want

                Plaintiff appointed to that position and in retaliation for



                                                  9
     Case: 1:09-cv-06370 Document #: 1 Filed: 10/09/09 Page 10 of 12 PageID #:1



               Plaintiff having opposed unlawful practices within the City

               of Chicago s Office of Compliance and other departments;

               d.   Defendants punished the Plaintiff for exercising her First
               Amendment rights when she complained to the Defendants about

               the legality of revoking the offer based on the disapproval of the City
               of Chicago, made complaints with the federal Monitor, and
               otherwise complained about improper hiring practices in the City of
               Chicago;

               e.   Defendants deprived Plaintiff of her freedom of liberty to work

                at employment for the City of Chicago free from political

                considerations.

       39.    Through their conduct, individually and in concert, the Defendants
abused their positions under color of statute, ordinance, regulation, custom, or
usage, by depriving Plaintiff of her liberty and right to enjoy her occupation with

the City of Chicago free from political interference.

       40.    Through their conduct, individually and in concert, the Defendants

denied Plaintiff her rights under the First, Fourth, and Fourteenth Amendment by

taking adverse employment action against her in retaliation for her having accused

the Defendants of acting in an illegal matter with respect to the availability of an

employment opportunity based on political reasons.

       41. As a result of Defendants actions, Plaintiff has suffered damages and

other injuries including the loss of promotion, position and rank.

       WHEREFORE, Plaintiff respectfully request that:

       1)    The City of Chicago be ordered to a adhere to the requirements of the


                                                  10
     Case: 1:09-cv-06370 Document #: 1 Filed: 10/09/09 Page 11 of 12 PageID #:1



Shakman Decrees and make a finding of a violation herein;

        2)   The Plaintiff be awarded damages and the costs for this action, in an

amount in excess of $75,000, as a result of the Defendants violation;

        3)   The Plaintiff be awarded compensatory and punitive damages, costs

and attorneys fees as a result of Defendants violation of Plaintiff s civil rights; and,

        4)   Grant such other relief that the Court deems just.

                                                Respectfully submitted,
                                                THERESA HILL




                                        By:     ___/s/ Steven Seidman__
                                                One of her attorneys




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                                                   11
Case: 1:09-cv-06370 Document #: 1 Filed: 10/09/09 Page 12 of 12 PageID #:1




                                   12
